Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 1 of 63 PageID: 792




     Exhibit B to Answer - Part 1
        Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 2 of 63 PageID: 793




                                                                               Cynthia L. Bernstiel, Esquire
                                                                                     Direct: 610-635-9510
                                                                                      cyndi@mcbelaw.com

                                                       July 15, 2021

           Via Email
           Richard A. Fogel, Esq.
           Law Offices of Richard A. Fogel, P.C.
           389 Cedar Avenue
           Islip, New York 11751-4627

                   RE:    Insured:      Ramesh Sawhney and Nina Bhardwaj
                          Policy No.:   001447338001
                          Claim No.:    047519006886
                          DOL:          2/25/19
                          Company:      Chubb Insurance Company of New Jersey

           Dear Mr. Fogel:

                   I am writing in follow up to our ongoing conversations and correspondences regarding
           this matter, most recently our June 26, 2021 and July 8, 2021 telephone conferences and my June
           30, 2021 letter. As noted in my June 30 letter, that letter addressed some of the issues and
           questions which you have raised, and which we have been discussing. This letter addresses what
           I believe are all of your remaining questions about this claim, including those additional
           questions noted in your July 1, 2021 email. As I have advised repeatedly, I remain available to
           discuss this claim with you any time, and I look forward to our further discussion following your
           review of this correspondence and its enclosures.

           Detailed Chronology

                   Preliminarily, we note that you have provided what you characterized as a “detailed
           chronology [you] put together based upon the emails between the parties and the documents
           [you] have.” You further stated that you “have at least one email or document for every fact
           stated.” You request that Chubb “let [you] know if [you] got something wrong or if [you] are


_________________________________________________________________________________________________
         325 Sentry Parkway,                  103 Carnegie Center, Suite 300             5 Penn Plaza, 19th Floor
      Building 5 West, Suite 200                   Princeton, NJ 08540                    New York, NY 10001
         Blue Bell, PA 19422                           609-200-0570                          718-500-4109
             610-910-8489                          eFax 888-468-0129                       eFax 718-500-4109
          eFax 610-910-8489
         Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 3 of 63 PageID: 794

            Richard A. Fogel, Esq.
            July 15, 2021
            Page 2


            missing something significant.” Chubb has conducted a detailed review of your chronology and
            advises as follows:

                       •   Attached as Exhibit “A” is the chronology you prepared with Chubb’s notations.

                       •   As it concerns any written correspondence (emails, letters, etc.) referenced in your
                           chronology, Chubb’s position is that said documents are writings, which speak for
                           themselves regarding their contents. To the extent you have summarized any
                           written correspondences in your chronology, your clients should not consider
                           Chubb to have adopted your summary or characterization of said writings. Again,
                           these are documents which speak for themselves.

                       •   Likewise, as it concerns any reports or other writings referenced in your
                           chronology, Chubb’s position is that said documents are also writings, which
                           speak for themselves regarding their contents. To the extent you have
                           summarized any reports or other writings in your chronology, your clients should
                           not consider Chubb to have adopted your summary or characterization of said
                           reports or writings. Again, these are documents which speak for themselves.

                       •   As noted in Exhibit “A”, Chubb does not have some of the correspondences you
                           referenced in your chronology and requests that your clients please produce same.

                       •   As we discussed on July 8, 2021, unless the entries on your chronology were an
                           exact match to what Chubb has in its file, Chubb has asked you to please provide
                           the referenced correspondence for clarity. Chubb understands your desire that
                           your clients and Chubb are “on the same page” regarding such correspondences.
                           Your clients should not consider Chubb’s request for clarity regarding certain
                           referenced correspondences to be anything other than Chubb trying to reach such
                           consensus with your clients.

            Chubb’s Prior checks to Ramesh Sawhney and Nina Bhardwaj

                    You have asked what checks, in what amounts, were issued to the insureds and whether
            they were cashed. In your July 1, 2021 email, you incorrectly stated that during our June 26,
            2021 phone call I “speculated” regarding said payments but still did not have an answer. In fact,
            what I advised during that call was that Chubb issued four payments, and I needed to double
            check if the last payment had posted. Importantly, I also advised that each and every time Chubb
            sent your clients a check, Chubb emailed them and advised of the amount and the basis for the
            payment amount. The following chart summarizes those emails, and the corresponding
            payments by Chubb to the insureds:




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    MCCELLAN BERNSTIEL                                 Attorneys at Law
         Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 4 of 63 PageID: 795

            Richard A. Fogel, Esq.
            July 15, 2021
            Page 3


                CHECK        DATE             AMOUNT             CORRESPONDENCE FROM CHUBB TO
                NUMBER                                           INSUREDS EXPLAINING PAYMENT

                4195279      5/24/19          $94,326.17         5/13/19 email from Chubb to insureds explained
                (posted                                          this payment was for contents damages from the
                6/4/19)                                          loss based upon AIQ’s 5/7/19 report and attaching
                                                                 said report. Mrs. Bhardwaj responded via email
                                                                 and requested a stop payment as the insureds
                                                                 would not be home to accept the payment. Stop
                                                                 payment was issued, and the insureds authorized
                                                                 Chubb's reissue of payment, which was done on
                                                                 5/24/19.

                4246505      6/19/19          $12,081.44         6/12/19 email from Chubb to insureds explained
                (posted                                          2nd payment for contents damages was based on
                7/2/19)                                          AIQ’s amended report dated 5/31/19 and attaching
                                                                 said report.

                4306186      7/18/19          $20,731.16         7/17/19 email from Chubb to insureds explained
                (posted                                          3rd supplement payment was for damages based on
                7/23/19)                                         AIQ’s 7/15/19 amended report and attaching said
                                                                 report. $666.41 was issued in this payment to
                                                                 cover a separate expense (sprinkler heads that
                                                                 were damaged during stump removal).
                                                                 $20,064.75 was the amount for contents damage.

                48843398     4/29/20          $14,628.95         4/22/20 email from Chubb to insureds explained
                (EFT)                                            4th supplemental payment for damages was based
                                                                 on AIQ’s amended report dated 4/16/20 and
                (posted                                          attaching said report.
                7/1/20) 1


                   Documentation regarding all four of Chubb’s above-referenced payments is attached as
            Exhibit “B” per your request. Again, each payment was based upon reports from AIQ which we
            previously sent you per your request on March 11, 2021, and which are enclosed herein for your
            ready reference as Exhibit “C”. These AIQ reports indicate the pricing for the pieces and
            whether the price was to restore the piece, or to replace the piece due to it being non-restorable.
            Accordingly, Chubb disagrees with your statement that “it [was] certainly not stated anywhere


            1
              In your March 1, 2021 email, you indicate that your clients were only aware of receiving two checks from Chubb.
            As the enclosed documentation appears to indicate, however, by that time the insureds had cashed all three of
            Chubb’s checks and received the April 2020 EFT payment, which as you correctly note are referenced in emails
            from Mike McCudden at Chubb to the insureds.
______________________________________________________________________________________________________

    MCCELLAN BERNSTIEL                                       Attorneys at Law
          Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 5 of 63 PageID: 796

            Richard A. Fogel, Esq.
            July 15, 2021
            Page 4


            what [Chubb’s] checks were for.” In fact, before Chubb made each of the above-referenced
            payments to the insureds, it corresponded with them regarding the basis for said payments.

            Summary of Loss

                     During our many telephone conversations about this claim, you have expressed confusion
            about why Chubb is investigating this loss and you have likewise expressed your opinion that
            Chubb has already accepted coverage for the entire loss as claimed by the insureds, and therefore
            has no right to investigate at this time. I have consistently expressed on behalf of Chubb its
            position that Chubb has paid the insured for all damage to artwork that its claim adjustment to
            date has revealed was caused by the instant loss (a tree falling onto their home on February 25,
            2019) and that the insureds thereafter expanded the scope of the loss to include each and every
            piece of art in their collection, located all over their home, even in areas that were not near the
            attic or bedroom that were affected by the tree fall. Accordingly, I have explained
            (notwithstanding the fact that Chubb has no legal obligation to outline for the insureds a
            “roadmap” of its investigation), that Chubb is investigating whether the additional claimed items
            beyond those items for which Chubb has already provided coverage are damaged, and if so
            whether said damage was related to the February 25, 2019 loss. Contrary to the statements in
            your July 1, 2021 email (which I address in further detail below), Chubb has never agreed that
            the insureds’ remaining claim can be resolved simply by having all of the experts meet to
            ascertain the restoration of each piece. Chubb first must complete its investigation regarding
            whether the damage to each piece, if any, was related to the February 25, 2019 loss.

                     In my February 18, 2021 letter, Chubb requested that the insureds produce relevant and
            material supporting documentation for its review before their Examinations Under Oath. Chubb
            also included a very detailed spreadsheet with areas for the insureds to insert relevant and
            material information regarding each claimed piece. Chubb provided this spreadsheet to prevent
            the exact issue you have flagged in your correspondences – to streamline this process, save time
            and make the insureds’ examinations as efficient as possible. You implied during our July 6,
            2021 call that if Chubb intends to move forward with its investigation, the insureds might as well
            just file suit. To be clear – Chubb is not denying coverage for the additional items being claimed
            by the insureds. Rather, Chubb is investigating, as permitted by the Policy’s “Your duties after a
            loss” provision cited in my February 18, 2021 letter and New Jersey law, the insureds’ claim for
            damage to additional claimed artwork. Only after Chubb completes its ongoing investigation
            will it be able to ascertain whether or not the Policy affords coverage for the additional claimed
            items.

                    While your clients were very involved in the claims adjustment process and have
            obviously provided you with some of the correspondences they had with Chubb as reflected in
            the chronology you created, as we discussed on July 8, 2021, I have included an overview below
            which I hope will clear up some confusion about what occurred and why. You will see that the
            below is in the nature of a high-level overview and is intended to provide you with sufficient
            context and detail regarding Chubb’s claim adjustment process in order to answer some of the
            basic questions you have posed during our telephone conferences and correspondences. As I
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    MCCELLAN BERNSTIEL                                 Attorneys at Law
         Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 6 of 63 PageID: 797

            Richard A. Fogel, Esq.
            July 15, 2021
            Page 5


            noted during our July 8 call, I look forward to discussing this matter with you further after you
            have had the opportunity to review the below.

            2019

                    As you know, this loss involves the collapse of a tree onto the insureds’ New Jersey
            home, 43 Oak Bend Road S., West Orange, New Jersey 07052 (the “Property”) on February 25,
            2019 which penetrated the wall and ceiling of one section of their home. The claim as initially
            presented by the insureds in February 2019 was for property damage only to the roof of their
            home and water intrusion into one bedroom, as well as for damage to their greenhouse from a
            tree limb falling on its roof. As summarized below, the claim grew substantially between
            February 2019 and May 1, 2020, which new damage ultimately included, but was not limited to,
            the insureds’ claim for coverage for their entire collection of artwork, manuscripts and
            memorabilia in their entire home.

                     After inspecting the Property, Chubb contracted with Asset IQ (“AIQ”) and its
            representative, Diane Forstell (“Forstell”), to inspect art located in the attic and bedroom spaces
            that were impacted by water leaking through the damaged roof. In response to your questions
            regarding Forstell’s qualifications, she was capable of ascertaining and appraising any damage to
            the insureds’ artwork based upon her decades of experience handling losses involving thousands
            (and sometimes tens of thousands) pieces of art. On March 16, 2019, Forstell inspected items of
            artwork in the attic and bedroom of the Property where the tree fell, in the adjacent area of the
            attic, and also viewed other pieces shown to her by the insureds which were located in their
            greenhouse. Forstell inventoried and photographed these items, and thereafter issued an initial
            report dated May 7, 2019 which listed the lesser of the cost to repair or replace each item that
            Forstell inspected. In this report, Forstell notes items she found to be a total loss with the
            designation “TL” (i.e. - referring to total loss and not diminution). Forstell noted that her May
            7, 2019 report was an interim content damage report, and that she was waiting for additional
            information from the insureds which she needed to determine pricing for several open items.

                   Chubb provided Forstell’s initial report to the insureds on May 13, 2019. As noted
            above, based upon Forstell’s initial May 7, 2019 report, on May 24, 2019, Chubb issued to the
            insureds a payment in the amount of $94,326.17. 2

                   In the interim, the insureds had contracted with their own vendor, artwork conservator
            Cultural Preservation & Restoration (“CPR”) and its representative Gary
            McGowan(“McGowan”). As explained in greater detail below, Forstell and McGowan met at
            the Property on May 8, 2019. McGowan had already been at the Property and had prepared a
            preliminary triage proposal dated April 26, 2019 in which he listed a cost of $27,380.00 for the

            2
             The $853.80 difference between the total on Forstell’s report ($95,179.97) and the Chubb’s check to the insureds
            ($94,326.17) was due to a weathervane included in Forstell’s report that Chubb had already paid out to building
            contractor Castle Ridge on the insureds’ behalf in connection with payment for property damage to the insureds’
            home.
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    MCCELLAN BERNSTIEL                                        Attorneys at Law
          Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 7 of 63 PageID: 798

            Richard A. Fogel, Esq.
            July 15, 2021
            Page 6


            following work: (1) inventory with photographs of the insureds’ damaged artwork; (2) basic
            cleaning (i.e. - wiping down) of the damaged artwork; (3) evaluation of mold infiltration of said
            artwork to be performed at the New Jersey home; (4) assessing damaged pieces for further
            restoration; (5) packing and moving artwork that is stable and clean; (6) de-framing and carefully
            packing additional pieces of artwork. In his April 26, 2019 proposal, McGowan made clear that
            full conservation and materials would be additional costs. On April 30, 2019, Mike McCudden
            from Chubb (“McCudden”) requested that McGowan provide a more limited estimate to pack
            and transport the damaged artwork. Also on April 26, 2019, McCudden forwarded the insureds
            an offer from Chubb’s vendor (AIQ) to instead handle the pack and move of their art. The
            insureds did not respond to Chubb regarding its offer to have their art moved by AIQ, nor did
            they indicate that they wished to have McGowan handle such a move.

                    After receiving McGowan’s April 26, 2019 proposal from the insureds on April 29, 2019,
            Chubb requested that Forstell meet with McGowan at the Property to review and discuss next
            steps. At that meeting, which, as noted above, occurred on May 8, 2019, Forstell and McGowan
            inspected the loss site. They also examined individual pieces of damaged art and discussed the
            kinds of work that would be necessary to repair or restore same. Inasmuch as the insureds’ attic
            contained art in areas other than the area of direct damage, McGowan indicated he thought some
            pieces may just need to be wiped down for some minor cleaning. As noted above, McGowan’s
            proposal included preparing an inventory and photographing the insureds’ damaged artwork. By
            that point, however, Forstell had already inspected, inventoried and photographed the insureds’
            art and therefore offered to share with McGowan her entire inventory which would save him
            time (and therefore the insureds money) and avoid him duplicating her effort. McGowan took
            Forstell up on her offer in this regard. Also on May 8, 2019, Forstell inventoried additional
            items of art that were claimed to be damaged. After completing this additional inventory, Forstell
            presented to McGowan with an inventory spreadsheet containing all items of the insureds’
            artwork that she had inspected and inventoried so he could insert his estimate of the restoration
            or conversation cost for each piece. McGowan completed this exercise, with the understanding
            that once he obtained the artwork and examined each piece, he may discover additional damage.

                    Based upon her May 8, 2019 inspection of the additional claimed artwork and her receipt
            of additional necessary information from the insureds regarding same, Forstell issued a second
            report dated May 31, 2019. As noted above, in accordance with said report, Chubb issued a
            supplemental payment to the insureds on June 19, 2019 in the amount of $12,081.44, bringing
            the total claim payment to date to $106,260.61.

                     On June 15, 2019, McGowan sent the inventory document back to Forstell with numbers
            filled in for each piece indicating the cost to restore or clean each item. McGowan based these
            numbers on what he observed himself at the Property or, alternatively, on photographs Forstell
            provided to him. Notably, AIQ’s report included total loss and restoration items, whereas
            McGowan’s estimate covered only conservation and as such had a lower total. That said,
            McGowan and Forstell had discussed and both understood that McGowan’s total was a
            preliminary one, subject to adjustment once he was able to de-frame or unbox the artwork to
            examine it in a controlled environment. Had the insureds authorized a relocation plan at this
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    MCCELLAN BERNSTIEL                                Attorneys at Law
          Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 8 of 63 PageID: 799

            Richard A. Fogel, Esq.
            July 15, 2021
            Page 7


            time, in those cases AIQ would have weighed the cost of restoration against the value of the
            piece and would have recommended the appropriate course of action.

                    On June 24, 2019, McGowan sent an email to McCudden indicating that on June 23,
            2019, he was at the Property and Dr. Sawhney showed him additional allegedly damaged items
            that McGowan had never seen previously and were not listed on Forstell’s spreadsheet.
            McGowan reported that Dr. Sawhney felt that these items were “significant and rare works that
            require conservation treatment to prevent further deterioration.” McGowan advised Chubb that
            since he was unable to unwrap or unbox many of these items, he could not make any substantive
            statements as to their current state of preservation.

                    By July 2019, based on the insureds’ expressed concerns about their home being a health
            risk due to elevated mold and asbestos remediation, they had relocated to New York. The
            insureds did not advise Chubb that they were relocating any of the affected artwork (to New
            York or elsewhere) at that time. If any relocation was done, it was not using AIQ or McGowan,
            but instead by the insureds themselves or another vendor undisclosed to Chubb.

                    On July 3, 2019, Forstell, McGowan, and McCudden participated in a conference call
            during which an action plan for restoring the insureds’ artwork was discussed. These parties
            agreed any damages pre-existing the February 25, 2019 loss as a result of age, storage
            conditions, and such other factors unrelated to the loss would not be included. These parties
            further agreed that Forstell would update AIQ’s estimate based on McGowan’s then-current
            conservation estimates of damage caused by the February 25, 2019 loss.

                    On July 9, 2019, McGowan forwarded to Chubb an estimate to pack and transport the
            affected artwork (50 – 60 pieces) from the Property to McGowan’s New Jersey studio.
            McGowan advised that his staff would pack and store the affected artwork at a cost of $1,920.00
            each way. McCudden approved this amount but, with no updates from the insureds regarding
            arrangements of this pack-and-move in the following days, McCudden advised McGowan on
            July 17, 2019 that all payments had been issued directly to insured.

                    Forstell issued a third report on July 15, 2019 which incorporated information from her
            July 2019 discussions with McGowan and McGowan’s numbers/estimates to restore or clean the
            affected art works. Forstell agreed that McGowan had provided reasonable estimates for the
            work he wished to perform. As noted above, based upon same, Chubb issued a third payment to
            the insureds on July 18, 2019 in the amount of $20,731.16, bringing the total claim payment to
            date to $126,472.36, with two remaining items needing more documentation from the insureds
            (noted on page 3 of AIQ's report as “TL open”). On pages 10 and 11 of AIQ’s July 15, 2019
            report, items noted as TBD or “TL or Restore” were awaiting final notes from McGowan.

                   In July 2019, the insureds advised Chubb that they wished to have their own independent
            appraisers evaluate the art. The insureds thereafter retained appraiser Bonnie Kagan (“Kagan”)
            and appraiser/conservator Kenneth Linsner (“Linsner”). Linsner is a specialist in Indian art.
            Kagan’s first visit to the Property was on or about August 29, 2019. After two follow-up visits,
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    MCCELLAN BERNSTIEL                                Attorneys at Law
         Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 9 of 63 PageID: 800

            Richard A. Fogel, Esq.
            July 15, 2021
            Page 8


            Kagan compiled her report and appears to have presented it to the insureds at some point in
            February or March of 2020. (Kagan’s process during these approximately six months is
            unknown to Chubb.)

            2020

                    On February 29, 2020, the insureds’ appraiser, Kenneth Linsner, inspected the insureds’
            Indian Art at the Property to determine the replacement cost of artwork that the insureds told
            Linsner was damaged as a result of the instant loss. All two-dimensional inclusions of said
            artwork were still contained in frames at that time. In the report Linsner ultimately issued (as
            detailed below), he also determined, to the extent appropriate based upon his training and
            experience, the cost to restore each piece.

                    In March 2020, the insureds started forwarding Kagan’s appraisal report to Chubb (which
            report came in multiple pieces and multiple versions). Chubb, in turn, requested that Forstell
            (AIQ) review Kagan’s appraisal report. In her review, Forstell discovered that Kagan’s report
            included many works that were never previously brought to Forstell’s attention or shown to her
            during her many prior inspections at the Property. Forstell also realized that certain items that
            she had previously inspected and included in her prior reports were absent from Kagan’s
            appraisal report. After reviewing Kagan’s report and then speaking with Kagan further, Forstell
            advised Chubb that by Kagan’s own admission, she had only included the replacement value of
            the insureds’ art without any consideration of its pre-loss condition, current condition or the
            possibility of restoration. Forstell was unable to provide comment regarding the additional
            pieces listed in the Kagan report because they had never been presented to her, nor had the
            insureds ever represented during any of Forstell’s visits to the Property that these works
            sustained damage as a result of the February 25, 2019 loss. Forstell advised Chubb that in order
            to comment on these additional pieces she would need to inspect them, and in order to provide a
            fully detailed report at this stage any pieces in frames would need to be de-framed and inspected
            in a controlled environment.

                    On April 16, 2020, Forstell issued an amended report on artworks she had previously
            reviewed in light of new information she had received since authoring her last report. As noted
            above, based upon Forstell’s April 16, 2020 report, Chubb issued another payment to the
            insureds on April 29, 2020 in the amount of $14,628.95, bringing Chubb’s total claim payment
            to date to $141,101.31.

                    By way of emails from the insureds on April 20 and 22, 2020, as well as a follow-up May
            1, 2020 telephone conference with Dr. Sawhney, Chubb learned that Linsner would be
            submitting at least one additional report, and that the insureds were now significantly increasing
            the scope of their contents claim beyond those pieces Chubb had already inspected as being in
            the area of the Property where the loss occurred, or which the insureds had previously shown
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    MCCELLAN BERNSTIEL                                Attorneys at Law
         Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 10 of 63 PageID: 801

            Richard A. Fogel, Esq.
            July 15, 2021
            Page 9


            Chubb. Accordingly, Chubb issued correspondence to the insureds that day (May 1, 2020 -
            enclosed herein for your ready reference as Exhibit “G”) advising that it reserved its rights
            regarding the claim, the full scope of which was unknown to Chubb at that time. Chubb also
            continued to seek to have all claimed contents centralized and jointly inspected (or at least to
            have a complete and central inspection done by AIQ).

                   On April 28, 2020, Forstell and McGowan had the following email exchange:

                           Gary,

                          You may recall that we met at the Sawney home in West Orange,
                   NY on May 8, 2019. As you will recall we worked together to inspect the
                   artworks and you provided a restoration proposal for the items that were
                   possibly damaged. You included in that same proposal your cost for
                   cleaning those items in need of just cleaning.

                           I have a few questions, as follows:

                       1. Did you perform any of the actual restoration work included in
                          your proposal? If so, please advise when and which pieces.

                       2. Did you provide any further proposals to the owners? Did you
                          return to inspect additional art or to re-inspect? If so, please
                          provide me with a copy of the proposal.

                           My best,

                           Diane

            ---

                           Hi Diane,

                            I hope this email finds you well. To answer your questions:

                       1. No, I did not perform any conservation, restoration or work on any
                          of the damaged pieces.

                       2. This is a much more complicated question. Although I did not
                          provide any additional proposals for Dr. Sawhney’s collection, I
                          did return to the property three more times and did visually assess
                          the collections in the attic. At that time, further deterioration had
                          occurred on several of the pieces. It should be noted that in my

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    MCCELLAN BERNSTIEL                                  Attorneys at Law
         Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 11 of 63 PageID: 802

            Richard A. Fogel, Esq.
            July 15, 2021
            Page 10


                          meetings with Dr. Sawhney, he had indicated that he was
                          contacting an appraiser and was adding materials from the first
                          floor living spaces as part of his concerns for damage. I spoke to
                          the appraiser, who was based in New York City; I do not
                          remember her name. Her requirements and her plan for evaluating
                          the collection seemed neither reasonable nor in line with industry
                          standards. I had several further emails and phone conversations
                          with Dr. Sawhney, which did not develop into any substantive
                          decisions to proceed with conservation treatments by my firm. Dr.
                          Sawhney stopped responding to my repeated inquiries where I had
                          stated treatments should proceed as soon as possible to avoid
                          further deterioration of the selected artwork. I am unaware if any
                          conservation was carried out by any other conservator/firm.

                           I hope this answers your questions.

                           All the best,

                          Gary

                           Gary McGowan

                          Cultural Preservation & Restoration

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                   In May 2020, in light of all recent developments including Chubb’s receipt from the
           insureds of Kagan’s report and notice that an additional report from Linsner would be
           forthcoming, Chubb hired Aiston Art Movers to package and remove any claimed artwork from
           the Property to Aiston’s secure, climate-controlled warehouse in Long Island City, New York.
           Chubb and the insureds communicated about Aiston’s move and the logistics of same in email
           exchanges during the first week of May 2020. For example, in an email exchange on May 6,
           2020, McCudden advised the insureds that, “Aiston Fine Art Services will be coordinating the
           pickup and storage of the artwork. They are working on their schedule to confirm pickup on the
           18th. If there are any issues with that day, is there another day that week you may be available?”
           Dr. Sawhney replied on the same date, stating, “We shall try to isolate from the movers the art
           conservator should weigh in.” Dates for the move were ultimately agreed upon between Chubb
           and the insureds, which move occurred on five separate dates between June 1 and June 8, 2020.
           Aiston conducted this move of the insureds’ art from their New Jersey home and, after being
           advised that the insureds had brought at least some claimed artwork to New York City, from that



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         Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 12 of 63 PageID: 803

            Richard A. Fogel, Esq.
            July 15, 2021
            Page 11


           location as well. 3 Dr. Sawhney was present for at least some of these moves conducted by
           Aiston.

                    While Chubb and the insureds were coordinating the Aiston move (but before it had
           actually occurred), on May 21, 2020 the insureds provided Kenneth Linsner’s appraisal to Chubb
           which Chubb immediately forwarded to AIQ for its review. Forstell advised Chubb that with
           respect to all works which she had not previously seen or been presented with as part of the
           insureds’ claim – including all items contained in Kagan’s and Linsner’s reports – she would
           need to conduct an in-person inspection before commenting further. Notably, Forstell also
           advised Chubb that items that were previously claimed and that had been included in her prior
           reports were absent from both Linsner’s and Kagan’s reports. Accordingly, Chubb asked
           Forstell to review all claimed items, even those previously seen by AIQ at the Property.

                   As noted above, the packing and move-out of all identified works made available to the
           movers was completed on June 8, 2020 and these works were taken to Aiston’s insured and
           climate-controlled storage facility in Long Island City, New York. Thereafter, on four separate
           dates (June 22, July 17, July 27, August 5, 2020), AIQ transported certain items from Aiston to
           AIQ’s Connecticut facility, as Aiston’s facility was not suited to unframe and examine these
           works. Additionally, on August 14, 2020, Forstell inspected limited additional items at Aiston,
           some of which were too large to be appropriate for transport to AIQ and others which were oil
           paintings that did not need to be de-framed to permit further inspection. While Chubb offered
           that the insureds could have their experts present at these inspections by AIQ, in an email dated
           August 11, 2020, Dr. Sawhney replied, “[T]he experts have already reviewed the works and
           presented all the documents you requested”. Dr. Sawhney also advised Chubb in this email that
           there was yet more artwork the insureds were claiming, which was not provided to the movers
           for transport to Aiston.

                   On October 23, 2020, Forstell issued a report containing items from the Kagan and
           Linsner reports that she had inspected following the moves to Aiston. Notably, for purposes of
           preparing this report, Forstell called and asked Kagan why her appraisal did not comment on the
           actual condition of the items (other than those which Kagan deemed a total loss). Kagan replied
           that she does not comment on condition, and that she told Dr. Sawhney that he should bring in a
           conservator or, alternatively, that she (Kagan) could bring one in for the insureds. Kagan
           advised Forstell that Dr. Sawhney declined to bring in a conservator at that time. Kagan also

            3
             As it concerns the need for Aiston to pick up art at the insureds’ New York residence, on June 2, 2020, McCudden
            emailed Dr. Sawhney stating, "I just heard back from Aiston art, they mentioned art potentially needing to be picked
            up from an apartment in New York City. If this is the case, can you please provide information on the specific
            pieces that need to be moved from there?” Dr. Sawhney replied via email on the same day stating, “Hi mike We
            moved some Indian pieces and the Antonia blanco to ny”.


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         Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 13 of 63 PageID: 804

            Richard A. Fogel, Esq.
            July 15, 2021
            Page 12


            would not comment on the Linsner appraisals. Accordingly, Forstell’s October 23 report totaling
            $82,177.38 assessed all damage (as opposed to just the replacement cost as included by Kagan)
            for each reviewed item. As Forstell noted in the preface of that report, the damage she observed
            to many items appeared to pre-date the February 25, 2019 loss. Where both Kagan and Asset IQ
            concluded that any particular item was a total loss, Forstell indicated that the numbers they each
            assigned for the particular piece were reasonably close to each other.

                    On October 7, 2020, the insureds presented Chubb with a list of approximately 50
           additional allegedly damaged items located at their New Jersey home which Forstell had never
           seen nor had ever been brought to her attention. Accordingly, Chubb requested that Forstell
           again return to the Property to inspect these items and McCudden reached out to the insureds to
           coordinate this inspection. Since Dr. Sawhney was then in California, the inspection was
           coordinated to accommodate his return to New Jersey as well as Forstell’s availability. Forstell
           ultimately returned to the Property on seven separate dates to inspect these yet additional items.
           On the first date Forstell returned to the Property (11/6/20), she brought Dr. Sawhney’s list of
           new items to review those with him and inspect the listed pieces. When Forstell asked Dr.
           Sawhney to show her where the additional allegedly damaged items were located, Dr. Sawhney
           took Forstell room by room, and showed her items located all over the house. When Dr.
           Sawhney started showing Forstell additional items that were not on his list and Forstell brought
           this fact to his attention, Dr. Sawhney told Forstell to write down at these additional items as
           they were also part of the insureds’ claim. As Dr. Sawhney continued show Forstell items not on
           the list he emailed to Chubb on October 7, 2020, and Forstell continued noting this fact,
           Sawhney replied that his list did not matter as the insureds were claiming all art, books and paper
           in the Property because he felt that everything was ruined. Given the expanded scope of the
           items the insureds were now claiming, Forstell went back to the Property for follow-up
           inspections of these additional items six additional times (11/11/20; 11/18/20; 11/19/20; 1/4/21;
           1/8/21 and 1/12/21). During these inspections, Forstell examined items in every wing of the
           home including but not limited to items in the kitchen, bedrooms, living room, basement and
           attic. Forstell examined and documented everything Dr. Sawhney showed her which totaled
           approximately 1200 additional items over and above the items listed in Forstell’s April 16, 2020
           report.

            2021

                    On February 10, 2021, Linsner traveled to AIQ’s facility in Danbury, Connecticut with
            the intention of inspecting what he believed to be the now unframed Indian art that he had
            previously inspected in a framed condition at the Property. For all unframed pieces Linsner had
            previously examined in their frames, Linsner’s opinion regarding the condition of the items
            remained unchanged. Of note, of those pieces that Linsner inspected at AIQ, he advised Forstell
            that two of these pieces he had never seen before. Likewise, Linsner reported that he believed
            two pieces of framed Indian art that he did see previously, in frames, and at the Property were
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         Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 14 of 63 PageID: 805

            Richard A. Fogel, Esq.
            July 15, 2021
            Page 13


           not then located at AIQ. Since AIQ had previously removed from Aiston, and brought to its
           facility, all framed Indian art that Aiston had removed from the Property, it appears that the
           insureds did not direct Aiston to remove these two pieces of framed Indian art that Linsner had
           previously inspected at the Property during the move to Aiston’s facility.

            Request for Inventory of Art Items, with Photographs

                     You requested that Chubb provide an inventory of your clients’ property currently in
            Chubb’s possession. On June 30, 2021, I provided you with an inventory of all items currently
            located at AIQ, including photographs, which I have enclosed herein for your ready reference as
            Exhibit “D.” Enclosed herein as Exhibit “E” is an inventory of all items located at Aiston. As I
            advised when we spoke last week, the Aiston inventory does not include photographs. However,
            Chubb offered to have Forstell go to Aiston and perform such photographic inventory, which
            offer still stands. Contrary to your allegations, Chubb did not “stick [your clients’ art] in boxes
            and forget about them.” Moreover, as explained in greater detail below, Chubb does not
            consider any items of art “missing” including “rock and roll memorabilia, electric guitars and/or
            John Lennon related pieces.” To the contrary, any items relocated from the insureds’ New
            Jersey or New York homes are located at AIQ or Aiston and are listed on the respective
            inventories from those facilities.

            Alleged “Missing Art” Items

                   On April 13, 2021, you sent correspondence attaching a document titled “Missing Art”
           which you characterized as “an enclosed list of art from my clients’ house and they believe was
           taken by Diane but is not listed in any of her catalogs.” Please note that AIQ did not “take” any
           art from the insured at any time; all art moving was handled by Aiston Fine Art Movers. As
           noted on AIQ’s inventory which we provided on June 30, 2021 (Exhibit “D”), AIQ has
           possession of one item on your alleged “Missing Art” list (your 27th item), the “Bougerau [sic]
           and Eva Gardner hand colored piece.” As you will see, this is the second item listed in AIQ’s
           inventory.

                    In your July 1, 2021 email, you allege that AIQ, “provides yet another cryptic
           spreadsheet as to missing art. Does Chubb have the items or not? What does the new
           spreadsheet mean? I understand from the spreadsheet that AIQ saw some of the times [sic] and
           didn’t see others, but it does not answer the question where are the items now.” Again, Chubb
           does not agree, and has never agreed, that any of the items on the list you titled “Missing Art”
           are, in fact, missing. Chubb also does not agree that AIQ’s chart, which I provided on June 30,
           2021 (enclosed herein for your ready reference as Exhibit “F”), is “cryptic.” To the contrary,
           AIQ’s chart identifies the item you listed on your alleged “Missing Art” list and then sets forth
           additional identifying information, if applicable, for each piece. Specifically, AIQ provided
           additional identifying information including: (1) whether or not they saw the item; (2) the date
           they saw the item (if they saw it); and (3) the location where they saw the item (again, if they


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         Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 15 of 63 PageID: 806

            Richard A. Fogel, Esq.
            July 15, 2021
            Page 14


           saw it). 4 If AIQ never saw the item(s), they noted that on the chart. For the items that AIQ saw
           at the Property, as noted, Chubb has no further knowledge of these items beyond the fact that
           AIQ saw them at the Property. To the extent you have any specific questions relating to this list
           which form the basis of your characterization of the list as “cryptic,” please advise and I would
           be happy to discuss further.

            Moving Forward

                     In your July 1, 2021 email, you state that are “pleased [Chubb] agree[s] with your
            proposal to meet and go through the inventory with the appropriate expert, McGowan as to
            restoration of each piece.” Contrary to your statement, as noted above, what Chubb agreed to is
            for Forstell and the insureds or their representatives (if they so choose) to go to Aiston and
            photograph the items located there. As you and I have discussed repeatedly, and as also noted
            above, Chubb is investigating whether damage, if any, to the additional artwork beyond those
            pieces that Chubb has already issued payment, was caused by this loss. To this end, I sent you a
            letter on Chubb’s behalf on February 18, 2021 which letter requested that your clients produce
            various enumerated supporting claim documents as well as information on a detailed chart
            enclosed with that letter. The deadline set forth in my letter for the production of these records
            and information was March 11, 2021. Assuming the records and information were produced by
            the March 11, 2021 document production deadline, Chubb requested that your clients appear for
            their Examinations Under Oath on March 31 and April 1, 2021. As of the writing of this letter,
            we have received none of the requested documents and information set forth in my February 18,
            2021 letter, nor have we received the completed spreadsheet from your clients. Instead, we have
            received correspondences from you requesting information and answers to questions, and the
            Examination Under Oath process has been stalled while we have worked through these issues.
            The quickest way for Chubb to move forward with its claim investigation is for your clients to
            produce the requested supporting claim documents and the completed spreadsheet. Chubb needs
            to complete its ongoing claim investigation before determining whether or not the applicable
            policy of insurance provides coverage for all of the items currently being claimed as damaged by
            your clients. This is not litigation as characterized in your March 31, 2021 email, rather it is
            Chubb electing to further investigate this claim as permitted under the policy’s “Your duties after
            a loss” provision and New Jersey law. Indeed, Chubb disagrees with you that “litigating” this
            matter “is the only alternative.” Chubb has a right under the policy and the law to investigate
            this claim, and your clients have certain duties to cooperate as noted in the Policy. Chubb is
            confident that if your clients produce the requested records and information, it can quickly move
            forward with reviewing same and rescheduling their examinations for dates in the very near
            future. Again, I look forward to speaking with you further after you have had the opportunity to
            review this correspondence.




            4
             As AIQ noted, they saw some items in your clients’ home. They also noted that they saw two Moses Soyer
            paintings and an Edgar oil painting at Aiston.
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         Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 16 of 63 PageID: 807

            Richard A. Fogel, Esq.
            July 15, 2021
            Page 15


                    Waiving none, but in all other respects reserving to Chubb Insurance Company of New
            Jersey, all of its rights and defenses under and pursuant to the policy of insurance involved
            herein, I remain,


                                                        Very truly yours,

                                                        MCCLELLAN BERNSTIEL, LLP



                                                        Cynthia L. Bernstiel, Esquire

            CLB/lag
            Enclosures




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    MCCELLAN BERNSTIEL                               Attorneys at Law
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 17 of 63 PageID: 808




                        Exhibit A
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 18 of 63 PageID: 809




                Sawhney Chubb Chronology Drafted by Attorney Richard Fogel
                               with Chubb’s Annotations

  2019-2-25 Notice of Claim (no copy) 45 Oak Bend Rd., West Orange, N.J. – wind in storm
            caused falling tree limb damage to house – primarily roof, upstairs bedroom, attic.

  2019-2-25 Kagan reports estimate value of artwork as of this date, excluding Indian art work,
            with assumption of provenance and authenticity (report not issued until 2020-2-10).
            No comments on condition or needed repair.

         Kagan’s report speaks for itself, except insofar as Kagan herself has provided
           clarification or modification via follow-up correspondences. [Example: Kagan’s
           4/28/20 email to Forstell and McCudden clarifies, “as I mentioned, everything is
           assumed to be in 'good' condition prior to the event which caused the damage; I
           have no way of knowing otherwise since I did not see anything before August 29,
           2019.”]

  2019-2-26 Chubb send engineer to inspect home – Applied Eng’g and further inspections on
            2019-3-6.

         On February 26, 2019, Gemini Restoration Incorporated (on behalf of Chubb) and
            Mike McCudden were at the property. An engineer from Applied Engineering
            (“AET”) inspected the home on 3/6/19, 3/29/19 and 8/12/19.

  2019-3-7 Client email to Chubb Eng’g expert told clients extensive water leakage into walls.

         Please provide this email for clarity and Chubb will provide a further response, as
            appropriate. Following their March 6, 2019 inspection, AET noted “long-term
            water leakage” (not “extensive” water leakage) and in their March 6, 2019
            report stated, “This plaster wall delamination is due primarily to long-term
            water infiltration and deterioration of the clay brick backup wall. The tree
            impact may have created a new water leak; however, the clay brick
            deterioration is due to long-term moisture infiltration at this location.”

  2019-3-11 Chubb email retained art expert (Asset IQ) to review all the affected artwork.

         McCudden’s email to Dr. Bhardwaj is a writing which speaks for itself regarding its
           contents.

  2019-3-16 Client email to Chubb art expert (Asset IQ) is at house, will be back in future to
            document all the artwork.

         Please provide this email for clarity and Chubb will provide a further response, as
            appropriate.

  2019-3-27 Chubb emails he will be there with experts on Friday.
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 19 of 63 PageID: 810




         Chubb in this reference indicates Mike McCudden. McCudden’s email to the
           insureds is a writing which speaks for itself regarding its contents. Note that per
           Mike McCudden’s 3/27/19 email, “experts” indicate an engineer and the
           building contractor (Castle Ridge).

  2019-4-4 Chubb and client exchange emails about art report.

         Referenced email exchanges are writings with speak for themselves regarding their
            contents. Note that in these emails, Nina Bhardwaj requests information about
            estimates, starting work on repairs, solar panels, and asks “can you also find out
            about art report.”

  2019-4-5 Chubb email to clients waiting on Asset IQ for art report.

         Appears to refer to above-mentioned 2019-4-4 email thread. Please confirm.

  2019-4-8 Chubb email to clients re Asset IQ to provide artwork report.

         Appears to refer to a 2019-4-9 email. Please confirm.

  2019-4-15 Chubb acknowledges claim and accepts certain liabilities for damage to house while
            disclaiming others (no mention of art) total $138,435.

         Insureds submitted claim on 2/25/19; Chubb acknowledged the claim the same day.
            Mike McCudden’s letter to the insureds dated 4/15/19 stated: “I have attached
            our building consultant’s report for covered damages to your home totaling
            $145,367.62. Please share this estimate with your contractor. Should he or she have
            any concerns about pricing or scope, please direct them to me prior to beginning
            work. We will work with your contractor to figure out any discrepancies. In
            addition to this report, we are waiting for our art experts report on valuation of
            damages to artwork. Once this is received, we will forward a copy to you and issue
            payment for these damages.”

  2019-4-16 Client email to Chubb re concerns about damage to artwork in attic.

         Dr. Bhardwaj’s email to McCudden dated 4/16/19 is a writing which speaks for
            itself as to its contents.

  2019-4-22 Client email to Chubb re estimate for moving art.

         Please provide this email for clarity and Chubb will provide a further response, as
            appropriate.

  2019-4-29 Chubb and McGowan exchange emails about storing art and cleaning art.
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 20 of 63 PageID: 811




         McCudden’s response to McGowan on 4/29/2019 is a writing which speaks for itself
           as to its contents.

  2019-4-29 McGowan email to clients re call from Chubb re art claim – Chubb to take possession
            – comments on cleaning immediately.

         Please provide this email for clarity, and/or confirm that this entry refers to
            McGowan’s letter dated 4/26/19 to the insureds.

  2019-4-30 Chubb email to clients and Diane email to Chubb re move and sort all artwork.

         McCudden and Forstell’s referenced emails are writings which speak for themselves
           as to their contents.

  2019-5-7 Asset IQ Art Report $95,179 damages (when was art claim made?).

         There is no separate “art claim”, because the Policy does not provide separate art
            coverage. Any payments for damage to the insureds’ artwork were paid under
            the Policy’s limit for contents coverage.

  2019-5-8 McGowan meets with Diane to review art collection Diane acknowledged she was
           only appraising value and damage – not repair as per McGowan email dated
           6/24/2019. Chubb email dated 5/15/19 Diane meeting with McGowan. McGowan
           email dated 5/3/2019.

         McGowan’s 5/3/19 and 6/24/19 emails, and Chubb’s 5/15/19 email, are writings
           which speak for themselves as to their contents.

  2019-5-9 Chubb and clients exchange emails re Art report, mold on art.

         Please provide the referenced emails from this date for clarity, including any emails
            regarding “mold on art.”

  2019-5-13 Various emails re Asset IQ report – clients feel undervalued art.

         Please provide referenced emails from this date for clarity and Chubb will respond
            further,                            as                             appropriate.

  2019-5-28 Diane email to clients re questions about art.

         Please provide the referenced email for clarity and Chubb will respond further, as
            appropriate.

  2019-5-31 Asset IQ Art Report (supplemental) $107,260.

         Asset IQ’s report(s) speak for themselves regarding their contents.
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 21 of 63 PageID: 812




  2019-6-13 Clients Email to each other re additional damaged artwork.

         Chubb does not have this email correspondence – please provide.

  2019-6-18 McGowan email to clients explains he filled in restoration numbers on Asset IQ
            spread sheet and obtained further list of works from clients.

         Chubb does not have this email correspondence – please provide.

  2019-6-23 McGowan meets with Dr. Sawhney to review additional artworks not on Diane’s
            spread sheet – as per 6/24/29 McGowan email.

         McGowan’s 6/24/19 email is a writing which speaks for itself as to its contents.

  2019-6-24 McGowan email describes estimates he gave to Diane at meeting of basic cleaning.

         McGowan’s 6/24/19 email is a writing which speaks for itself as to its contents.

  2019-6-27 McGowan email to clients – met with Chubb at NJ home inspected artwork –
            discussed need for restoration immediately refers to initial cost proposal April 26
            which was for initial condition assessment and basic cleaning and then decide what
            further steps were approved. Chubb indicated they approved on April 26 and would
            confer for further authorization for further work.

         Chubb does not have the referenced 6/27/19 email – please provide. Note – Chubb
           does not appear to have been able to “approve on April 26” the referenced
           “initial cost proposal” drafted by McGowan as McCudden did not even receive
           McGowan’s proposal until April 29, 2019 when Dr. Bhardwaj forwarded it to
           McCudden.

  2019-7-2 McGowan email to Diane, Chubb re estimates provided for restoration (on Asset IQ
            report per 6/24/19 McGowan email).

         Emails between McGowan, Forstell, McCudden and the insureds to arrange a voice
           conference in July are writings which speak for themselves as to their contents.0

  2019-7-10 McGowan email met with Chubb and Diane – They agreed to begin restoration work
            – need to remove from frames and that damage may be more extensive as work
            proceeds.

         Please provide the referenced email for clarity and Chubb will respond further, as
            appropriate.

  2019-7-10 Sawhney email to Chubb retained art expert for valuation and will provide report to
     Chubb.
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 22 of 63 PageID: 813




         Please provide the referenced email for clarity and Chubb will respond further, as
         appropriate.

  2019-7-12 Chubb email will issue check for artwork as soon as asset IQ supplemental report
            received.

         The referenced email is a writing which speaks for itself regarding its contents.

  2019-7-15 Asset IQ Art Report (supplemental?) $126,260.

         $126,472.36 is the correct number and is a new total, not an additional total. Please
            refer to July 17, 2019 email from McCudden to insureds stating “Revised
            Restoration Report Total - $126,472.36 Less Prior Payments - $106,407.61
            Total Owed - $20,371”

  2019-7-17 Chubb Email re art restoration work says restoration work was approved by
            McGowan checks issued – still needs some info about other work.

         McCudden’s 7/17/19 email to the insureds quotes Diane Forstell; each portion
           speaks for itself as to its contents. Please further note that on July 17, 2019,
           McCudden emails McGowan as follows: “Hi Gary [McGowan], Please see the
           email and attached report from Diane. All payments per the report have been
           issued direct to the insured. Please let me know if you have any questions or
           concerns. Thank you, Mike.”

  2019-7-? Chubb email dated 9/9/20 says Asset IQ came to agreement with Dr. Sawhney’s “art
           conservator” on restoration work and check was issued ? but work never done. Says
           there were other artwork that was total loss but parties differed as to value and Chubb
           requested supporting documentation.

         On 7/18/19, Chubb issued a $20,731 check to the insureds, which was a supplement
            to Chubb's prior payments totaling $106,407 (July 18 check also included
            $666.41 for damaged sprinklers). All checks for damaged contents were issued
            by Chubb directly to the insureds, with the knowledge of their vendor
            (McGowan).

  2019-7-18, 28 McGowan has approval from Chubb to begin restoration work - has to move art.

         Please provide the referenced emails dated 7/18/19 and 7/28/19 for clarity and
            Chubb will respond further, as appropriate.

  2019-8-7 McGowan email to clients begin restoration asap or work may be irreparably harmed.
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 23 of 63 PageID: 814




         Chubb does not have this email correspondence – please provide. Please further
           provide any relevant responses from insured regarding use of funds issued from
           the prior three checks for contents damage.

  2019-8-19 Chubb Email acknowledging Dr. Sawhney’s request to retain his own expert to
            evaluate artwork “I agree that it is your next best step”.

         Please provide the referenced email for clarity and Chubb will respond further, as
            appropriate.

  2019-8-19 McGowan email to Sawhneys acknowledging they want to begin restoration.

         Chubb does not have this email – please provide.

  2019-8-29 Chubb letter re: Flat roof damage.

         Chubb’s letter dated August 29, 2019 is a writing which speaks for itself regarding
           its contents.

  2019-9-10 Dr. Sawhney email to Chubb – preparing reports on artwork 2-3 weeks.

         Please provide the referenced email for clarity and Chubb will respond further, as
            appropriate.

  2019-9-11 Email from McGowan to Dr. Sawhney re Asset IQ did not take into account mold
            damage and he will await Kagan’s report. Chubb agreed to move items to
            McGowan’s premises.

         Please confirm this refers to the following email dated September 10, 2019 wherein
            McGowan states:

         “...although Chubb had agreed to my cost proposal for moving and transporting
             selected artwork to my studio for conservation, I am unaware of their response
             and/or agreement utilizing an additional art handling firm... I would be more
             than happy to provide a revised estimate for this aspect of your project, if you
             feel that my coordination of the moving and organizing of the individual art
             pieces is needed.”

  2019-11-22 Exchange of emails regarding extensive expert reports on artwork

         Please provide all referenced email exchanges for clarity and Chubb will respond
            further, as appropriate.

  2020-2-10 Kagan Issues Appraisal Reports all artwork (damaged or not) with assumptions
            excluding Indian artwork $4,434,300.0074.
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 24 of 63 PageID: 815




         Kagan’s report speaks for itself, except insofar as Kagan herself has provided
           clarification or modification via follow-up correspondences.

  2020-2-29 Linsner Report of Indian artwork replacement cost for 56 pieces of art and estimates
            of repair costs for same where applicable and comments on condition.

         Note that Linsner’s report dated 2/29/20 was not provided to Chubb until 5/21/20.
            See below.

  2020-3-? Chubb email dated 9/9/20 says it received appraisers report (Linsner?) but majority of
           pieces were never claimed to be damaged. Chubb says Asset IQ revised its estimates
           and some values were added, and some went up and some went down, and check was
           issued?

         Please provide any correspondences from March 2020 referenced in this entry and
            Chubb will response further, as appropriate.

         Note that this entry refers to an email from Mike McCudden dated 9/9/20.
            McCudden’s 9/9/20 email is a writing that speaks for itself regarding its
            contents. Note that any reference by McCudden to an appraiser’s report
            received by March 2020, references Bonnie Kagan’s report as Linsner’s report
            was not finalized until (per insureds’ 2020-4-20 email) the end of April 2020, nor
            provided to Chubb until May 21, 2020.

         Note that Chubb issued payments to the insureds based upon AIQ’s first four
            reports. If “some went up and some went down” is a reference to a particular
            item of controversy, please provide the source and Chubb will respond further
            as appropriate. The source of this “March ?” date regarding Chubb’s payments
            to the insureds is unclear (checks were issued in May 2019, June 2019, and July
            2019, and an EFT payment was issued in April 2020).

  2020-3-24 Kagan revises report to add a few pieces.

         Kagan’s report speaks for itself, except insofar as Kagan herself has provided
           clarification or modification via correspondence.

  2020-4-6 Chubb acknowledges receipt of Book 1 of Kagan report.

         McCudden’s email dated 4/6/20, as well as other emails arranging transmission or
           receipt of Kagan’s report, are writings which speak for themselves as to their
           contents. Note that on 3/13/20, McCudden emails the insureds stating, “I have
           received the [Kagan] report, I’ve forwarded it to our appraiser, Diane Forstell,
           for review.”

  2020-4-14 Asset IQ Art Report – spreadsheet – purpose not clear.
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 25 of 63 PageID: 816




         The April 14, 2020 AIQ report was revised on April 16, 2020. Said revised report
            was issued to the insured on April 22, 2020. (We provided you additionally with
            a copy of the April 14, 2020 version.) The April 16, 2020 AIQ report (the fourth
            report from which a payment was sourced since date of loss) was issued as part
            of the ongoing evaluation of the claim. An EFT payment was issued April 22 to
            adjust settlement to the updated AIQ total. Please reference email dated 4/22/20
            from McCudden to insureds, which stated, in pertinent part, as follows:

         “...Attached is Diane’s revised report with pricing of the affected works per pricing
             provided by your appraiser. Your conservator was supposed to get back to her
             regarding piece SWAR21012, however she has not heard back. She included her
             estimated cost to restore the piece in this report...”

  2020-4-? Chubb email dated 9/9/20 states insureds advised Chubb in April 2020 that all artwork
           in home was affected.

         Please refer to 5/1/20 reservation of rights letter acknowledging that Chubb was
            aware from the insureds that they are presenting additional items.

  2020-4-20 Email advises Chubb that Linsner is submitting report for Indian artwork. Chubb
            acknowledges it has Kagan’s report.

         Please provide this email for clarity, or, alternatively, please confirm this entry is
            referencing a 4/20/20 email from the insureds to McCudden stating “Kenneth
            linser. Is doing the Asian art. The rock and roll is separate Thanks.”

  2020-4-22 Chubb email total of $141,101.31 issued payment (to whom and for what-
            restoration?)

         Chubb issued payment for $141,101.31 to insureds Ramesh Sawhney and Nina
           Bhardwaj. Chubb’s email indicates payment of $14,628.95 on this date was for
           claimed contents damage, cumulative with earlier payments and totaling
           $141,101.31. Chubb is unaware what the insureds used this money for after
           Chubb’s payment was issued.

  2020-5-1 Chubb letter acknowledges “additional art damage,” when or what is not clearly
           identified.

         Chubb’s May 1, 2020 reservation of rights letter is a writing which speaks for itself
           regarding its contents. Chubb sent this letter in response to an email from Dr.
           Sawhney on 4/22/20 stating “Mike if you see the damage reports you will see
           these [pieces in Kagan’s report] and many more pieces were damaged,” and a
           follow-up voice call on this date (5/1/20) from Dr. Sawhney advising that he is
           now claiming more of his art collection was damaged (all additional pieces were
           not specified by the insureds at this time).
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 26 of 63 PageID: 817




         Note that as of May 1, 2020, Chubb has received from the insureds: (1) McGowan’s
            conservation and estimates (referencing 50-60 pieces of artwork); and (2)
            Kagan’s report (listing approximately 162 pieces of artwork and making clear
            that she has relied on the insureds’ representation that the pieces of artwork
            referenced as damaged sustained such damage as a result of the 2/25/19 loss).
            Chubb has also been notified at this time that an even further report from
            Kenneth Linsner regarding the insureds’ Asian art will be forthcoming. Linsner
            ultimately issued his report referencing 56 pieces of Asian art and, like Kagan,
            made clear that he has relied on the insureds’ representation that the pieces of
            artwork referenced as damaged sustained such damage as a result of the 2/25/19
            loss.

  2020-5-4 Chubb email asks to take possession of artwork Chubb email dated 9/9/20 says in May
           2020 it began process of moving all the claimed pieces (same as all pieces?) to a
           secure location.

         McCudden’s 5/4/20 email (as well as his additional referenced email dated 9/9/20)
           are writings which speaks for themselves regarding their contents. Note that
           given the insureds’ expansion of their contents claim, McCudden advised the
           insureds that Chubb wished to secure all artworks that the insureds were now
           claiming. Accordingly, Chubb thereafter arranged for all claimed piece of art to
           be moved to Aiston’s secure, climate-controlled facility. Said moves occurred
           from the New Jersey home to Aiston on June 1, 2, 5 and 6, 2020 and from the
           insureds’ New York apartment to Aiston on June 8, 2020.

  2020-5-6 Numerous emails exchanged regarding pick up of the artwork.

         McCudden’s emails dated May 6, 2020 scheduling the Aiston move are writings
           which speak for themselves regarding their contents.

  2020-5-22 Exchange of emails re scope of damaged artwork.

         Please provide the referenced 5/22/20 emails for clarity and Chubb will respond
            further, as appropriate.

  2020-5-26 Chubb email acknowledges receipt of Kagan report.

         McCudden’s referenced email dated 5/26/20 is a writing which speaks for itself
           regarding its contents


  2020-9-10 Dr. Sawhney email to Chubb says he is preparing comprehensive report of all
            damaged artwork which will be ready in 2-3 weeks.

         Please confirm that in Dr. Sawhney’s 9/10/20 email, he is referring to artworks and
            other contents that were not made available for pickup by Aiston on the
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 27 of 63 PageID: 818




              numerous dates referenced above when Aiston moved other pieces of the
              insureds’ artwork.

  2020-9-20 Chubb Email Chronology offers to have Dr. Sawhney’s expert present with Asset IQ

         Please provide the referenced 9/20/20-dated email chronology for clarity and Chubb
            will respond further, as appropriate. Note that in a May 27, 2020 email from
            McCudden to the insureds, McCudden stated, “[Chubb] would like to have [its]
            appraisal expert and conservator experts conduct a joint inspection with your
            experts.”

  2020-9-23 Chubb email acknowledges receipt of expert’s reports (which reports?) Asks about
            picking up additional pieces and joint inspection.

         Mike McCudden’s 9/23/20 email is a writing which speaks for itself regarding its
            contents. Note that as of 9/23/20, the insureds have submitted to Chubb reports
            from three experts: McGowan, Kagan, and Linsner. The insureds had not
            made Chubb aware of any additional experts or expert reports as of this time.
            Note further that in McCudden’s 9/23/20 email, he requests that the insureds
           provide a specific list of items being claimed that were left off any prior reports,
           and that the insureds further advise if they want their experts present at AIQ for
           the inspection.

  2020-10-23 Asset IQ Additional Items $82,177 (again not clear).

         The AIQ report dated 10/23/20 is a writing which speaks for itself regarding its
            contents. Note that AIQ’s 10/23/20 report indicates they reviewed items of the
            insureds’ artwork at Aiston, and that they specified in their report any damage
            to each piece, even if said damage pre-dated the instant loss.

  2020-11-4     Chubb email and back and forth regarding additional inspection by Diane from
              Asset IQ.

         The referenced emails between Chubb and the insureds are writings which speak
            for themselves regarding their contents. Note that the additional inspection by
            AIQ noted in the 11/4/20 emails referenced AIQ’s inspection at the insureds’
            New Jersey home (which thereafter occurred 2 days later, on 11/6/20). This was
            to be of approximately 47 additional pieces which the insureds identified to
            Chubb in an email dated 9/30/20. In fact, this extended into multiple dates to
            inspect any item Dr. Sawhney was now claiming, regardless of whether or not it
            had been previously claimed or identified.

  2020-11-10 Chubb email stating he spoke with Linsner and requests joint inspection with Diane
            and Linsner.
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 28 of 63 PageID: 819




         McCudden’s 11/10/20 email to Linsner is a writing which speaks for itself regarding
           its contents.

  2020-11-18 Gary McGowan email -artwork not treated has now dried out rendering initial
            conservatorship recommendations moot. This damage has “irreversibly” damaged the
            artwork in many cases. Says he met with Asset IQ, Chubb and Dr. Sawhney on
            several occasions.

         McGowan’s 11/18/20 email is a writing which speaks for itself regarding its
           contents. Note that in this email, McGowan confirms that the insureds never
           retained him to perform any conservation work with the money Chubb had paid
           them to date under their contents coverage in the Policy.

  2021-2-10 Linsner email – he inspected the bulk of the Indian artwork at Asset IQ in Danbury.
            Not all pieces there

         Please provide this email for clarity and Chubb will respond further, as
            appropriate. Per Diane Forstell, the number of items was correct, but two items
            did not correspond as Linsner had numbered them.

  2021-2-21 Chubb Email stating he will request EUOs

         McCudden’s 2/21/21 email is a writing which speaks for itself regarding its contents.

  2021-2-11 Emails between Dr. Sawhney and Linsner confirming inspection of artwork in
            Danbury at Asset IQ but some were missing.

         The referenced emails dated 2/11/21 are writings which speak for themselves
            regarding their contents.

  2021-2-18 Chubb Attorney 21 pages of demands.

         Attorney Bernstiel’s letter, which cites the applicable policy provisions requiring the
            insureds’ cooperation with Chubb’s ongoing claim investigation and requests
            that the insureds produce certain enumerated supporting claim documents by
            March 11, 2021 and that they appear for Examinations Under Oath on March
            31, 2021 and April 1, 2021 is a writing which speaks for itself regarding its
            contents.

  2021-3-2 McGowan Email re: work never done to repair, and damage may be irreversible.

         Please provide this email for clarity and Chubb will respond further, as
            appropriate.
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 29 of 63 PageID: 820




                        Exhibit B
      Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 30 of 63 PageID: 821

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Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 38 of 63 PageID: 829




                        Exhibit C
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 39 of 63 PageID: 830
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 40 of 63 PageID: 831
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 41 of 63 PageID: 832
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 42 of 63 PageID: 833
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 43 of 63 PageID: 834
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 44 of 63 PageID: 835
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 45 of 63 PageID: 836
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 46 of 63 PageID: 837
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 47 of 63 PageID: 838
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 48 of 63 PageID: 839
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 49 of 63 PageID: 840
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 50 of 63 PageID: 841
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 51 of 63 PageID: 842
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 52 of 63 PageID: 843
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 53 of 63 PageID: 844
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 54 of 63 PageID: 845
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 55 of 63 PageID: 846
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 56 of 63 PageID: 847
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 57 of 63 PageID: 848
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 58 of 63 PageID: 849
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 59 of 63 PageID: 850
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 60 of 63 PageID: 851
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 61 of 63 PageID: 852
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 62 of 63 PageID: 853
Case 2:21-cv-14675-KSH-LDW Document 18-2 Filed 01/21/22 Page 63 of 63 PageID: 854
